                IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE DISTRICT OF DELAWARE
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                                          )
In re:                                    )   Chapter 11
                                          )
PES HOLDINGS, LLC, et al.,                )   Case No. 19-11626 (LSS)
                                          )
                  Debtors.                )   (Jointly Administered)
_________________________________________ )
                                          )
PES HOLDINGS, LLC, et al.,                )
                                          )
                                          )
                  Plaintiffs,             )
                                          )
                  -and-                   )   Adversary Proceeding
                                          )
ICBC STANDARD BANK PLC,                   )
                                          )
                  Intervenor-Plaintiff    )
                                          )
                  v.                      )   Case No. 20-50454 (MFW)
                                          )
ALLIANZ GLOBAL RISKS US INSURANCE         )
CO., et al.,                              )
                                          )
                                          )
                  Defendants.             )
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     DEFENDANT INSURERS’ OMNIBUS NON-EXPERT MOTIONS IN LIMINE

       Defendants submit this memorandum in support of their Omnibus Non-Expert Motions in

Limine and respectfully show the Court as follows:

             To preclude reference to or evidence of Reinsurance communications at trial;

             To preclude reference to or evidence of Reserves at trial; and

             To preclude references to or evidence solely relating to PES’s Time Element claim
              and/or adjustment.




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    I.    STANDARD

          Under Federal Rule of Civil Procedure 26(b)(1), “[p]arties may obtain discovery regarding

any nonprivileged matter that is relevant to any party’s claim or defense and proportional to the

needs of the case…”1 While that rule is to be “liberally construed,” Sec. Inv. Prot. Corp. v. Bernard

L. Madoff Inv. Sec. LLC, 2019 WL 1055958, at *5 (Bankr. S.D.N.Y. Mar. 5, 2019), it does not

mean that the information sought will be admissible at trial, Barrett v. City of New York, 237

F.R.D. 39, 40 (E.D.N.Y. 2006). “A motion in limine is a tool by which to challenge the

admissibility of evidence prior to trial based on the ground that its admission at trial, or any

reference to the material in the presence of the jury, would be overly prejudicial.” Douglas v.

Smith, 2008 WL 2626654, at *1 (N.D.N.Y. July 1, 2008); see also Pavone v. Puglisi, 2013 WL

245745, at *1 (S.D.N.Y. Jan. 23, 2013) (“The purpose of a motion in limine is to facilitate an

efficient trial by enabling the Court to rule in advance of trial on the relevance of certain forecasted

evidence … without lengthy argument at, or interruption of, the trial.”) (internal citation and

quotations omitted); State v. Metz, 241 A.D.2d 192, 198, 671 N.Y.S.2d 79, 83 (1998) (explaining

that “the function of a motion in limine is to permit a party to obtain a preliminary order before or

during trial excluding the introduction of anticipated inadmissible, immaterial, or prejudicial

evidence or limiting its use” and “to prevent the introduction of such evidence to the trier of fact,

in most instances a jury”).

          Federal Rule of Evidence 402 provides that “[r]elevant evidence is admissible,” but

“[i]rrelevant evidence is not admissible.”2 However, relevant evidence may still be excluded “if

its probative value is substantially outweighed by a danger of … unfair prejudice, confusing the




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    Fed. R. Civ. P. 26(b)(1) applies in adversary proceedings via Fed. R. Bankr. P. 7026.
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    The Federal Rules of Evidence apply in bankruptcy courts. Fed. R. Bankr. P. 9017.

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issues, misleading the jury, undue delay, wasting time, or needlessly presenting cumulative

evidence.” Fed. R. Evid. 403.

       Under Fed. R. Evid. 104 and Fed. R. Civ. P. 16, the court may enter an order in limine

prohibiting counsel from presenting evidence on matters it deems to be properly excluded.

 II.   MOTION IN LIMINE NO. 1: TO EXCLUDE DOCUMENTS PERTAINING TO
       REINSURANCE

       Insurers seek to exclude at trial the reinsurance information produced in discovery. The

information PES seeks to admit is not relevant to the issues in this case and is prejudicial to

Insurers’ case.

       Reinsurance is a contractual agreement between an insurer and a reinsurer. Unigard Sec.

Ins. Co. v. N. River Ins. Co., 4 F.3d 1049, 1054 (2d Cir. 1993). The reinsurer is not a party to the

underlying insurance contract between the reinsured/insurer and the insured. Id. Reinsurers do not

examine risks, receive notice of loss from the original insured, or investigate claims. Id. (“In

practice, the reinsurer has no contact with the insured.”). The purpose of reinsurance is to diversify

the risk of loss, Delta Holdings v. National Distillers, 945 F.2d 1226, 1229 (2d Cir. 1991), and to

reduce required capital reserves. See Colonial Am. Life Ins. Co. v. Comm’r, 491 U.S. 244, 246

(1989). As explained by one court:

                  Reinsurance is purchased by insurance companies to insure their
                  liability under policies written to their insurers. Typically, an insurer
                  who has provided coverage against a large loss will cede all or part
                  of that risk to other insurance companies along with a portion of the
                  premiums. Ceding risk increases the insurer’s capacity to insure
                  other customers and decreases the likelihood that insurer insolvency
                  will result from any large claim.

N. R. Ins. Co. v. Cigna Reins. Co., 52 F.3d 1194, 1198 (3d Cir. 1995). In other words, a reinsurance

agreement is a contract by which “[o]ne insurer (a ‘ceding insurer’) ‘cedes’ all or part of the risk

relating to a policy … to a reinsurer.” Travelers Indem. Co. v. Scor Reinsurance Co., 62 F.3d 74,


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76 (2d Cir. 1995). The relationship is “strictly one of indemnification” and the “reinsurer has no

privity with, and is generally not liable to, the original purchaser of the underlying policy.” Id. at

76; see also Lipton v. Superior Ct., 48 Cal. App. 4th 1599, 1616-17 (1996) (explaining that under

a reinsurance agreement “one insurer transfers a risk (and a right to receive the related premium)

to another insurer willing to accept both” and the reinsurance contract is a contract of indemnity

“for the benefit of the insurance company; the original insured has no interest in it”).

       A.      Reinsurance information should be excluded because it is not relevant.

       Reinsurance information is irrelevant to the interpretation of the Policy and has no bearing

on PES’s claims of bad faith. Any reinsurance information PES seeks to admit into evidence at

trial lacks any relevance or probative value and is therefore inadmissible.

       Courts applying New York law have found that reinsurance information is not relevant.

See e.g., Certain Underwriters at Lloyd’s v. Nat’l R.R. Passenger Corp., 2016 WL 2858815, at *4

(E.D.N.Y. May 16, 2016) (denying an insured’s motion to compel communications with

reinsurer); Utica Mut. Ins. Co. v. Clearwater Ins. Co., 2015 WL 12777360, at *3 (N.D.N.Y. Jan.

20, 2015), aff'd, 2015 WL 12777361 (N.D.N.Y. July 14, 2015) (finding that “Plaintiff’s request

for broad discovery involving reinsurance contracts between other non-party insurers … [was]

simply not relevant” and “would be an unnecessary, burdensome and confusing diversion into an

area unlikely to result in relevant or admissible evidence”); Mt. McKinley Ins. Co. v. Corning Inc.,

2010 WL 6334283, at *13 (N.Y. Sup. Ct. Feb. 25, 2010) (denying motion to compel reinsurance

information, including reinsurance contracts, where insured’s “assertion of relevance [was] purely

conclusory” and based on “speculation”). Reinsurance is strictly a decision based upon business

considerations and will not provide any “insight into the insurers’ interpretation of the scope of

coverage.” Leksi, Inc. v. Fed. Ins. Co., 129 F.R.D. 99, 106 (D.N.J. 1989) (“Reinsurance involves



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a company’s attempt to spread the burden of indemnification. It is a decision based on business

considerations and not questions of policy interpretation.”).

        PES is not a party to the reinsurance contract and the reinsurers have no liability to PES

under their reinsurance contracts. The decisions related to reinsurance were made without PES and

well before PES’s claim was made. Therefore, any reinsurance information PES seeks to admit is

not relevant or probative of the intent of the parties to the primary insurance contract or their

contractual relationship. Heights at Issaqua Ridge Owners Assoc. v. Steadfast Ins. Co., 2007 WL

4410260 at *4 (W.D. Wash. Dec. 13, 2007); see also Leski, 129 F.R.D. at 106 (holding that the

relevance of reinsurance information to policy interpretation and coverage is “very tenuous”);

Independent Petrochemical Corp., v. Aetna Cas. & Sur. Co., 117 F.R.D. 283, 288 (D.D.C. 1986)

(holding that reinsurance information is “of very tenuous relevance, if any relevance at all”).3

        Likewise, reinsurance communications have no bearing on how Insurers handle a claim. In

this case, as in the typical case, the reinsurer is not liable to PES as the underlying policyholder, is

not responsible for investigating the claim, and has had no contact with PES. Steadfast, 2007 WL

4410260 at *4; Leksi, 129 F.R.D. at 106; Unigard, 4 F.3d at 1054. Reinsurance is not relevant to

PES’s allegations of breach of contract or bad faith. Steadfast, 2007 WL 4410260, at *4.

        Therefore, this reinsurance information must be excluded from evidence at trial because it

is irrelevant to the current action.




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  Other courts have also found that reinsurance information does not meet the relevance standard. See,
e.g., Great Lakes Dredge & Dock Co. v. Commercial Union Assur. Co., 159 F.R.D. 502, 504 (N.D. Ill.
1995) (“[T]he relevance of ‘all documents’ relating to reinsurance is too attenuated to be discoverable under
the relevant evidence standard of Rule 26.”); Nat’l Union Fire Ins. Co. of Pittsburgh, PA v. Donaldson Co.,
2014 WL 2865900, at *5 (D. Minn. June 24, 2014); Independent Petroleum Corp. v. Aetna Casualty and
Surety Co., 117 F.R.D. 283 (D.D.C. 1986).

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       B.         Reinsurance information should be excluded because any probative value it
                  may have is outweighed by the danger of unfair prejudice.

       Even if the Court finds that the reinsurance information is relevant, it must still be excluded

under Federal Rule of Evidence 403 because “its probative value is substantially outweighed by

… a danger of unfair prejudice, confusing the issues, [and] misleading the jury.” Evidence relating

to reinsurance is complex, separate from the insurance relationship, and has the potential to

mislead the fact finder. Introducing an entirely separate and distinct set of reinsurance

communications, including unrelated entities and properties, will confuse the issues. Accordingly,

any probative value this reinsurance information may have is substantially outweighed by other

factors and must be excluded at trial.

III.   MOTION IN LIMINE NO. 2: TO EXCLUDE EVIDENCE OF RESERVES

       Insurers seek to exclude at trial the reserve information produced in discovery. The

information PES seeks to admit is not relevant to the issues in this case and is prejudicial to

Insurers’ case.

       New York statutes require an insurance company to set reserves, which are used to

determine an insurer’s financial condition. N.Y. Ins. Law § 4117; N.Y. Ins. Law § 1303; see also

Safeco Ins. Co. of Am. v. M.E.S., Inc., 2014 WL 12833780, at *14 (E.D.N.Y. Apr. 11, 2014). The

term “reserve” as it is used in the insurance context generally means:

                  A sum of money, variously computed or estimated, which with
                  accretions from interest, is set aside, ‘reserved’, as a fund with which
                  to mature or liquidate, either by payment or reinsurance with other
                  companies, future unaccrued and contingent claims, and claims
                  accrued, but contingent and indefinite as to amount or time of
                  payment.

Couch v. Equity Gen. Ins. Co., 80 B.R. 512, 516 (S.D. Cal. 1987) (quoting Maryland Cas. Co. v.

United States, 251 U.S. 342 (1942)). In this regard, reserves are essentially an accounting



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mechanism “to ensure that there is adequate money available to pay claims.” Steadfast Ins. Co.,

2007 WL 4410260 at *3.

       Any “probative value of the reserve information … is attenuated by the fact that there are

no certainties in litigation” and that “[r]egardless of the strength or weakness of an insured’s claim

for coverage, … there are very few cases in which the probability that the insured will succeed on

its coverage claim can be valued at zero.” Nat’l Union Fire Ins. Co. of Pittsburgh, PA v. H & R

Block, Inc., 2014 WL 4377845, at *3 (S.D.N.Y. Sept. 4, 2014) (“[T]he establishment of a reserve

may merely reflect a prudent insurer’s recognition of the risks of [sic] inherent in litigation rather

than an admission of coverage or liability.”). Thus, reserves are “merely a business judgment made

by an insurance company to guard against future loss.” In re Residential Cap., LLC, 575 B.R. 29,

47-48 (Bankr. S.D.N.Y. 2017) (citing U.S. Fire Ins. Co. v. City of Warren, 2012 WL 1454008, at

*10 (E.D. Mich. Apr. 26, 2012); see also Safeco, 2014 WL 12833780, at *10 (noting that the

probative value of reserves may be low because “reserves merely reflect the possibility, no matter

how remote or unlikely, that a claim may be resolved with a payment by the insurer,” or that “the

setting of a reserve on a case, or the level at which a reserve may be set, is not an ‘admission’ that

the insured is liable on the claim ... or that the insurer actually believes that the dollar amount of

the contingent liability will reach any particular level” (citing Stonewall Ins. Co. v. Nat'l Gypsum

Co., 1988 WL 96159, at *6 (S.D.N.Y. Sept. 6, 1988)).

       A.      Reserve information does not reflect an Insurer’s liability or the value of the
               claim and is therefore irrelevant and inadmissible at trial.

       Courts routinely find that reserve information is not even discoverable because it is not

“reasonably calculated to lead to the discovery of admissible evidence” in cases concerning the

interpretation of the insurance policy. Fidelity & Deposit Co. of Md. v. McCulloch, 168 F.R.D.

516, 525 (E.D. Pa. 1996); see also Sundance Cruises Corporation v. American Bureau of Shipping,


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1992 WL 75097, *1 (S.D.N.Y. Mar. 31, 1992) (holding that reserve information was not

discoverable or relevant because the insurer’s “assessment or its underwriter’s assessment or its

counsel’s assessment of exposure to liability in this or prior cases has nothing to do with whether

here there is liability”); Prevost v. Westchester Fire Ins. Co., 2014 WL 12748051, at *1 (D.V.I.

Feb. 4, 2014) (“[C]ourts in this circuit have routinely held that reserve information is not

relevant.”); City of Warren, 2012 WL 1454008, at *10 (“[C]ourts routinely find such information

not discoverable under Rule 26 because it is neither relevant nor calculated to lead to the discovery

of admissible evidence.”).

        However, even if reserve information is discoverable, it should ultimately be inadmissible

at trial because such information is of “tenuous relevance.” Rhone-Poulenc Rorer, Inc. v. Home

Indem. Co., 139 F.R.D. 609, 613 (D. Pa. 1991); see also Union Carbide Corp. v. Travelers Indem.

Co., 61 F.R.D. 411, 413 (W.D. Pa. 1973) (holding that “the contingent and uncertain nature of

reserves could render questions about reserves tantamount to hypothetical questions”); Am. Prot.

Ins. Co. v. Helm Concentrates, Inc., 140 F.R.D. 448, 450 (E.D. Cal. 1991) (“Potential liability or

the insured estimation as to potential liability is marginally relevant at best.”); Bondex Int’l, Inc. v.

Hartford Acc. & Indem. Co., 2006 WL 355289, at *3 (N.D. Ohio Feb. 15, 2006) (“[E]vidence of

the amount of reserves is not relevant because it is not necessarily based on a full knowledge of

the facts and the law of the case … [but] most often reflects a business decision.”). Generally,

courts have found it “preferable that loss reserves not be admitted into evidence, because when an

insurer sets loss reserves it should be solely concerned with the purpose of ensuring the company’s

financial stability and should not be tempted to ‘manipulate its reserves’ to be consistent with the

insurer's settlement position.” Miller v. Kenny, 180 Wash. App. 772, 812, 325 P.3d 278, 298

(2014). Moreover, many factors are involved in the establishment of a reserve that are unrelated



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to coverage. Rhone-Poulenc Rorer Inc. v. Home Indem. Co., 1991 WL 237636, at *4 (E.D. Pa.

Nov. 7, 1991) (citing Boeing Co. v. Aetna Cas. & Sur. Co., No. C86-352D, at *7 (W.D. Wash.,

May 11, 1989)).

       Furthermore, because the legislature and insurance commissioner have established a

reserve policy, “a reserve cannot accurately or fairly be equated with an admission of liability or

the value of any particular claim.” Steadfast, 2007 WL 4410260 at *3 (citing In re Couch, 80

B.N.R. 512, 517 (S.D. Ca. 1987); see also Miller, 180 Wash. App. at 812 (“Because a reserve is

an estimate that includes attorney fees and other adjustment expenses, it cannot be equated with

settlement authority.”); Silva v. Basin Western, Inc., 47 P.3d 1184 (2002) (“[T]he reserve

requirement therefore reflects a desire on the part of the states and the insurance companies

themselves to ensure that resources are available to cover the insurer’s future liabilities. Thus, a

particular reserve amount does not necessarily reflect the insurer’s valuation of a particular

claim.”). The setting of reserves is a business decision; it is not a matter of policy interpretation.

Claims “personnel set reserves on a basis that does not entail a thorough factual and legal analysis

of a policy.” Leksi, 129 F.R.D. at 114; see also Fed. Realty Inv. Tr. v. Pac. Ins. Co., 760 F. Supp.

533, 540 (D. Md. 1991) (holding that “reserve decisions are mere guesses at the outcome of

litigation based on conservative accounting principles”). Therefore, the “amount set as a reserve

is not determinative of the insurer’s interpretation of policy language,” and thus has little

relevance. Leksi, 129 F.R.D. at 114.

       Furthermore, the reserve information is not relevant to the value of PES’s damages. The

only remining issues in this matter are the appropriate value of the physical damages suffered by

PES. The reserve information has no probative value to the fact finder in determining what that

value is. The parties have both submitted lengthy expert reports that detail the scope of damage



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and the value of repairing the claimed damage. The various levels of reserves set by the Insurers

during the adjustment process do not provide proof of what the true value of those damages are.

       B.        Reserve information is not probative of whether insurer adequately
                 investigated for purposes of an insured’s bad faith claim.

       In a first-party policy, the issue of “potential liability” is not relevant because “it does not

trigger any duty” under the policy. Helm, 140 F.R.D. at 449-50. In Helm, the court aptly explained

why reserve information is not relevant to first-party bad faith claims:

                 [T]he [first-party] policy either provides coverage for the loss or
                 does not, the insurer’s good faith is determined by the manner and
                 depth of its investigation and the determination of whether there was
                 a good faith factual and/or legal question as to whether the loss was
                 covered.

Id. at 449-50.

       Other courts have also regularly held that reserve information is irrelevant in first-party

cases, including bad-faith cases, because the insurer’s reserves information is not probative of

whether the insurer adequately investigated the claim and whether there was a good-faith question

about coverage. See Steadfast, 2007 WL 4410260 at * 3-4 (denying motion to compel reserves

when plaintiff failed to assert how the information would be relevant to the bad faith claim or what

plaintiff must establish to prevail); Rhone-Poulenc, 139 F.R.D. at 614; Leksi, 129 F.R.D.at 114

(“[R]eserve information is basically irrelevant to the issues in the underlying action.”); Petrochem.,

117 F.R.D. at 288; Union Carbide Corp. v. Travelers Indemn. Co., 61 F.R.D. 411, 413 (W.D. Pa.

1973); Fidelity and Deposit Co. of Md. v. McCulloch, 168 F.R.D. 516, 525 (E.D. Pa. 1996) (finding

no connection between bad faith claim and insurer’s loss-reserve estimation of its own liability);

Safeguard Lighting Systs., Inc. v. N. Am. Specialty Ins. Co., 2004 WL 3037947 (E.D. Pa. Dec. 30,

2004) (denying motion to compel reserves in a first-party property claim alleging bad faith).




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       Insurers’ reserves are neither relevant to PES’s breach of contract claim nor its bad faith

claims because the reserves were not derived from an analysis of liability or coverage. And, while

PES may disagree, Insurers have interpreted the Policy in good faith, but merely reached different

conclusions about coverage than PES. That the parties interpret the Policy differently does not

demonstrate that Insurers’ coverage position contradicts their reserves.

       C.      Reserve information is misleading, prejudicial, and will cause delay.

       Even if the Court finds that reserve information is relevant, it must still be excluded under

Federal Rule of Evidence 403 because “its probative value is substantially outweighed by a danger

of … unfair prejudice, confusing the issues, [and] misleading the jury …” Admitting reserve

information into evidence only has the potential to mislead the fact finder because so many factors,

unrelated to coverage, are involved in establishing a reserve and reserves do not constitute an

admission of liability by insurers.

IV.  MOTION IN LIMINE NO. 4: TO EXCLUDE EVIDENCE OF PES’s TIME
ELEMENT CLAIM AND ICBCS’S CLAIM

       PES, ICBCS and Insurers have settled PES’s Time Element and ICBCS’s claims.

Therefore, Insurers move to preclude the admission of any evidence that relates solely to PES’s

released time element claims or ICBCS’s claim.



Dated: December 3, 2021

                                              HOGAN MCDANIEL

                                              /s/ Garvan McDaniel
                                              ___________________________
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